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Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                XS Ranch Fund VI, L.P.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  818 Sayers Road
                                  Bastrop, TX 78602
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Bastrop                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 1
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Debtor    XS Ranch Fund VI, L.P.                                                                        Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5313

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a                          Northern DIstrict of
     separate list.                               District   California                    When      12/23/16                    Case number   16-31367
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                     Relationship
                                                  District                                 When                              Case number, if known




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Debtor   XS Ranch Fund VI, L.P.                                                                    Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                      page 3
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Debtor    XS Ranch Fund VI, L.P.                                                                   Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      January 6, 2020
                                                  MM / DD / YYYY


                             X   /s/ James P. Foster                                                      James P. Foster
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Managing Member of Coast Range, LLC




18. Signature of attorney    X   /s/ Eric Terry                                                            Date January 6, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Eric Terry 00794729
                                 Printed name

                                 Eric Terry Law, PLLC
                                 Firm name

                                 3511 Broadway
                                 San Antonio, TX 78209
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (210) 468-8274                Email address      eric@ericterrylaw.com

                                 00794729 TX
                                 Bar number and State




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 Fill in this information to identify the case:

 Debtor name         XS Ranch Fund VI, L.P.

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          January 6, 2020                         X /s/ James P. Foster
                                                                       Signature of individual signing on behalf of debtor

                                                                       James P. Foster
                                                                       Printed name

                                                                       Managing Member of Coast Range, LLC
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name XS Ranch Fund VI, L.P.
 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS                                                                                    Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Bluebonnet Electric                                             Utilities                                                                                                        $0.00
 Cooperative
 690 Texas Hwy 71
 W, Bldg. 1
 Bastrop, TX 78602
 FoxTrot LLC                                                                            Contingent                                                                                $0.00
 c/o Tullius Law                                                                        Unliquidated
 Group                                                                                  Disputed
 515 S. Flower St.,
 18th Fl.
 Los Angeles, CA
 90071
 Jackson Walker LLP                                              Professional                                                                                             $88,877.06
 Attn: James Alsup                                               Services
 100 Congress Ave.,
 Ste. 1100
 Austin, TX 78701
 John Landwehr                                                                          Contingent                                                                                $0.00
 219 Main St.                                                                           Unliquidated
 Smithville, TX 78957                                                                   Disputed
 Kelly Thevenot                                                  Professional                                                                                               $4,265.34
 326 McDonald Rd.                                                Services
 Cedar Creek, TX
 78612
 LIA Engineering,                                                Professional                                                                                             $38,960.00
 Inc.                                                            Services
 7500 Rialto Rd.,
 Bldg. 2
 Ste. 100
 Austin, TX 78755
 Pine Associates,                                                Professional                                                                                               $8,346.00
 LLC                                                             Services
 4455E. Camelback
 Rd., Ste. C-140
 Phoenix, AZ 85018




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    XS Ranch Fund VI, L.P.                                                                             Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 PV Development                                                                         Disputed                                                                            $5,038.00
 Management
 Attn: Mark Kehke &
 Jason Perrin
 4343 Von Karman
 Ave., 3rd Fl.
 Newport Beach, CA
 92660
 Ranch Wireless                                                  Utilities                                                                                                    $710.22
 Internet
 3547 N Hwy 123
 Bypass
 Seguin, TX 78155
 Rimon P.C.                                                      Professional                                                                                             $46,728.42
 Attn: Ben Douglas                                               Services
 One Embercadero
 Ctr., Ste. 400
 San Francisco, CA
 94111
 RMD & Co., Inc.                                                                                                                                                          $20,698.63
 408 Baylor St.
 Austin, TX 78703
 Ron Freeman Esq.                                                Professional                                                                                               $8,133.00
 Law Offices of                                                  Services
 Ronald J. Freeman
 102 N. Railroad Ave.
 Pflugerville, TX
 78660
 Squar Milner                                                    Professional                                                                                               $5,858.00
 Attn: Katherine                                                 Services
 Gough
 1150 Santa Monica
 Blvd., Ste. 600
 Los Angeles, CA
 90025
 Texas                                                           Professional                                                                                               $1,562.68
 Assocaites/AFCO                                                 Services
 5600 N. River Rd.,
 Ste, 400
 Des Plaines, IL
 60018
 Texas                                                           Trade debt                                                                                                 $2,536.23
 Associates/AFCO
 1120 Capital of
 Texas Hwy. S
 Bldg 3
 Austin, TX 78746
 Tony Gonzalez                                                   Trade debt                                                                                                 $2,800.00
 1344 Sayers Rd.
 Bastrop, TX 78602




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    XS Ranch Fund VI, L.P.                                                                             Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Winthrop Couchot                                                Professional           Disputed                                                                        $310,370.36
 Golubow Hollander                                               Services
 Attn: Garrick
 Hollander
 1301 Dove St., Ste.
 500
 Newport Beach, CA
 92660




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                                               United States Bankruptcy Court
                                                                       Western District of Texas
 In re      XS Ranch Fund VI, L.P.                                                                         Case No.
                                                                                  Debtor(s)                Chapter       11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities              Kind of Interest
 business of holder
 10 Gracie Square, LLC                                               Class A        1.10%
 Attn: Steve Blatt
 11150 Santa Monica Blvd, Suite 600
 Los Angeles, CA 90025

 Allen H. Smith                                                      Class A        0.63%
 736 Taft Rd.
 Hinsdale, IL 60521

 Allison K. Thacker and Troy Thacker                                 Class A        0.63%
 6 Longfellow Lane
 Houston, TX 77005

 Annie Shoemaker Trust                                               Class A        0.38%
 Attn: Steve Blatt
 11150 Santa Monica Blvd, Suite 600
 Los Angeles, CA 90025

 Anthony Saracino                                                    Class A        0.47%
 1020 Coronado Blvd.
 Sacramento, CA 95864

 Arn & Nancy Tellem Living Trust                                     Class A        1.57%
 DTD 8/19/98
 Attn: Steve Blatt
 11150 Santa Monica Blvd, Suite 600
 Los Angeles, CA 90025

 Austin Ranch LLC                                                    Class A        0.63%
 Attn: H. Hiter Harris III
 c/o Harris Wiliams & Co.
 1011 Haxall Point, Ste. 900, 9th Fl
 Richmond, VA 23219

 B. B. Patel                                                         Cloass A       3.15%
 2 Cowell Ln.
 Atherton, CA 94027

 Banvine Partners, L.P.                                              Class A        1.26%
 c/o Banvine Corporation, General Partner
 3793 Reliance Road
 Middletown, VA 22645

 Biggar Family Trust                                                 Class A        2.52%
 Attn: Mike Biggar
 494 W. Portola Ave.
 Los Altos, CA 94022

Sheet 1 of 10 in List of Equity Security Holders
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 In re:    XS Ranch Fund VI, L.P.                                                               Case No.
                                                                                   Debtor(s)



                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities   Kind of Interest
 business of holder

 Blatt Family Trust                                                  Class A        0.63%
 Attn: Steve Blatt
 11150 Santa Monica Blvd, Suite 600
 Los Angeles, CA 90025

 Blue Glacier Fund, L.P.                                             Class D        3.91%
 c/o Credtline Investors
 Attn: James Delaune
 201 Main St., Ste. 900
 Fort Worth, TX 76102

 Brooke Shoemaker Trust                                              Class A        0.38%
 Attn: Steve Blatt
 11150 Santa Monica Blvd, Suite 600
 Los Angeles, CA 90025

 Carsam Capital L.P.                                                 Class A        0.63%
 c/o Fuller Realty Partners, LLC
 Attn: Stewart Smith
 1800 Augusta Drive, Suite 400
 Houston, TX 77057-3131

 Christopher Meledandri                                              Class A        0.79%
 c/o Chapman, Bird, Grey & Tessler
 1990 South Bundy Drive, Suite 200
 Los Angeles, CA 90025

 CL OPP III LAND, LLC                                                Class D        6.87%
 c/o Credtline Investors
 Attn: James Delaune
 201 Main St., Ste. 900
 Fort Worth, TX 76102

 Crestline AK Opportunistic Fund, L.P.                               Class D        2.82%
 c/o Credtline Investors
 Attn: James Delaune
 201 Main St., Ste. 900
 Fort Worth, TX 76102

 Crestline Makena Fund, L.P.                                         Class D        1.41%
 c/o Credtline Investors
 Attn: James Delaune
 201 Main St., Ste. 900
 Fort Worth, TX 76102

 David G. Runnels & Therese M. Runnels                               Class A        0.16%
 6062 Riverview Way
 Houston, TX 77057



List of equity security holders consists of 10 total page(s)
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 In re:    XS Ranch Fund VI, L.P.                                                               Case No.
                                                                                   Debtor(s)



                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities   Kind of Interest
 business of holder

 Dewitt Richard and Marcy K. Leachman                                Class A        0.63%
 Attn: Dr. Richard Leachman
 6 Claymore Ct.
 Houston, TX 77024

 Edward N. Barad                                                     Class A        0.31%
 5455 Landmark Pl., #913
 Greenwood Village, CO 80111

 Eric Johnson                                                        Class A        0.63%
 123 Commonwealth Ave.
 San Francisco, CA 94118

 Eric L. and Barbara Jane Tupler                                     Class A        0.63%
 4070 E. Chestnut Ct.
 Greenwood Village, CO 80121

 George E. Rossmann and Lynn L.                                      Class A        0.63%
 Rossmann UAD
 219 Rosalie Ct.
 Los Gatos, CA 95032

 Goel Family Partnership                                             Class A        6.3%
 Attn: Prabhu Goel
 98 Ridgeview Dr.
 Atherton, CA 94027

 Goldsmith Family Trust                                              Class A        0.63%
 Attn: David L. Goldsmith
 6 Monterey Terrace
 Orinda, CA 94563

 Goldstein Family Trust dtd 1/29/93                                  Class A        0.31%
 Attn: Richard Goldstein
 20629 Chatsboro Dr.
 Woodland Hills, CA 91364

 Grant Shoemaker, LLC                                                Class A        0.63%
 Attn: Steve Blatt
 11150 Santa Monica Blvd, Suite 600
 Los Angeles, CA 90025

 Hannah, LLC Defined Benefit                                         Class A        0.31%
 Retirement Trust
 10866 Wilshire Blvd., 10th Floor
 Los Angeles, CA 90024




List of equity security holders consists of 10 total page(s)
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 In re:    XS Ranch Fund VI, L.P.                                                               Case No.
                                                                                   Debtor(s)



                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities   Kind of Interest
 business of holder

 Hart Family Trust                                                   Class A        0.31%
 Attn: Garrett Hart and Patricia Pallesch
 1677 San Onofre Drive
 Pacific Palisades, CA 90272

 Hill Living Trust                                                   Class A        0.63%
 Attn: Rocky Hill
 21760 Heber Way
 Saratoga, CA 95070

 Howard Cottage Investments, LP                                      Class A        0.79%
 Attn: Steve Blatt
 11150 Santa Monica Blvd, Suite 600
 Los Angeles, CA 90025

 Jack Fraker                                                         Class A        0.63%
 c/o CBRE
 2100 McKinney Avenue, Suite 700
 Dallas, TX 75201

 James A. and JoAnn C. Tramuto
 5552 Cedar Creek Drive
 Houston, TX 77056

 James and Lynn Saunders Trust                                       Class A        0.63%
 DTD 2/4/00
 209 Pacific Ave.
 Piedmont, CA 94611

 James Bochnowski                                                    Class A        6.3%
 28 Camino Por Los Arboles
 Atherton, CA 94027

 James E. Franco                                                     Class A        0.47%
 Attn: Jeff Blatt
 920 E. Dean Keeton Street
 Austin, TX 78705

 James J. Tramuto                                                    Class A        0.31%
 6147 Willers Way
 Houston, TX 77057

 Jeffrey Michael Jacobe                                              Class A        0.63%
 3015 Locke Lane
 Houston, TX 77019

 Jim Foster                                                          Class A        3.15%
 3723 W. Michael Dr., Unit 16
 Wilson, WY 83014

List of equity security holders consists of 10 total page(s)
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 In re:    XS Ranch Fund VI, L.P.                                                               Case No.
                                                                                   Debtor(s)



                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities   Kind of Interest
 business of holder

 Joe Wolf                                                            Class A        1.57%
 1080 Edgewood
 Mill Valley, CA 94941

 John F. Masdea II                                                   Class A        0.31%
 335 Loring
 Mill Valley, CA 94941

 Jonathan and Diane Levin                                            Class A        0.31%
 4120 Mary Ellen Avenue
 Studio City, CA 91604

 Katherine Shoemaker Trust                                           Class A        0.38%
 Attn: Steve Blatt
 11150 Santa Monica Blvd, Suite 600
 Los Angeles, CA 90025

 Kenneth C. Haupt Trust dtd 12-6-91                                  Class A        0.31%
 16 Pacheco Creek Drive
 Novato, CA 94949

 Kevin Barnes                                                        Class B        .094%
 16 Buckeye Rd.
 Belvedere, CA 94920

 Kevin E. Barnes                                                     Class A        0.63%
 16 Buckeye Rd.
 Belvedere, CA 94920

 Lakequest Enterprises, Inc.                                         Class A        1.26%
 Attn: Jeff Blatt
 920 E. Dean Keeton Street
 Austin, TX 78705

 Lawrence D. Long and Mary C. Diehl                                  Class A        1.26%
 1225 Fern Ridge
 Felton, CA 95018

 Lawrence J. and Gwendolyn G. Melody                                 Class A        0.63%
 Attn: Larry Melody
 3 Lazy Wood Lane
 Houston, TX 77024

 Lisa Harmon Trust DTD 8/19/99                                       Class A        0.63%
 Attn: Alan Reed Harmon
 PO Box 2879
 Kamuela, HI 96743



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 In re:    XS Ranch Fund VI, L.P.                                                               Case No.
                                                                                   Debtor(s)



                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities   Kind of Interest
 business of holder

 Mackenzie Davis                                                     Class A        0.63%
 227 West Blithedale Ave.
 Mill Valley, CA 94941

 Mendelsohn Family Trust dtd 7/21/92                                 Class A        0.31%
 Attn: David Mendelsohn
 4411 Westchester Dr.
 Woodland Hills, CA 91364

 Michael J. and Shelley W. Melody                                    Class A        0.63%
 5847 Shady River Drive
 Houston, TX 77057

 Michael T. Masdea                                                   Class A        0.63%
 51 Westgate Road
 Wellesley Hills, MA 02481

 Moelis Irrevocable Trust                                            Class C        3.15%
 Attn: Margaret Potter
 399 Park Ave., 5th Fl.
 New York, NY 10022

 Monica M. Bancroft 2004 Living Trust                                Class A        0.63%
 Attn: Stephanie Samuells/Bessemer
 Trust NA
 630 Fifth Ave., Fl. 39
 New York, NY 10111

 Palatine, LP                                                        Class A        3.15%
 Attn: David L. Rome
 26883 Dezahara Way
 Los Altos, CA 94022

 Paul Bancroft III 2004 Living Trust                                 Class A        1.26%
 Attn: Stephanie Samuells/Bessemer
 Trust NA
 630 Fifth Ave., Fl. 39
 New York, NY 10111

 Paul R. House and Martha L. House                                   Class A        0.31%
 721 Camelot Lane
 Houston, TX 77024

 Reinsberg Family Trust                                              Class A        0.63%
 Attn: William R. Reinsberg
 31 Indian Wells
 Moraga, CA 94556



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                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities   Kind of Interest
 business of holder

 Reza Etedali & Nina Maeda 2002 Trust                                Class A        0.31%
 Attn: Reza Etedali
 2 Park Plaza, Suite 930
 Irvine, CA 92614

 Richard Hefter                                                      Class A        0.16%
 2222 Hermosa Ave.
 Hermosa Beach, CA 90254

 Ring-Green Family Trust dtd 11-3-00                                 Class A        0.31%
 Attn: Robert Ring & Susan Green
 10348 Cheviot Drive
 Los Angeles, CA 90064

 Robert Sanitsky                                                     Class A        0.31%
 Attn: Steve Blatt
 11150 Santa Monica Blvd, Suite 600
 Los Angeles, CA 90025

 Ronald H. and Marilyn Josephs                                       Class A        0.31%
 16350 Ventura Blvd., Apt. 333
 Encino, CA 91436

 Rudnick Irrevocable Trust                                           Class A        1.57%
 Attn: Allan Rudnick
 531 Barnaby Road
 Los Angeles, CA 90077

 Samantha Shoemaker Trust                                            Class A        0.22%
 Attn: Steve Blatt
 11150 Santa Monica Blvd, Suite 600
 Los Angeles, CA 90025

 Sanford R. Robertson                                                Class A        0.79%
 c/o Francisco Partners
 Letterman Digital Arts Center
 One Letterman Drive, #C-410
 San Francisco, CA 94129

 Saunders Family Revocable Trust                                     Class A        0.79%
 Attn: Vince Saunders
 51 Craig Ave.
 Oakland, CA 94611

 SF Services, LLC                                                    Class A        1.26%
 Attn: Chris Tomaszewski
 10811 Washington Blvd., #370
 Culver City, CA 90232


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                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities   Kind of Interest
 business of holder

 Shire Investment Management, Inc.                                   Class A        0.31%
 Attn: Steve Blatt
 11150 Santa Monica Blvd, Suite 600
 Los Angeles, CA 90025

 Shoemaker Property LLC                                              Class A        1.10%
 Attn: Steve Blatt
 11150 Santa Monica Blvd, Suite 600
 Los Angeles, CA 90025

 Stacy and John Yost Revocable Trust                                 Class A        0.63%
 94 King Ave.
 Oakland, CA 94611

 Steven Shoemaker Trust                                              Class A        0.38%
 Attn: Steve Blatt
 11150 Santa Monica Blvd, Suite 600
 Los Angeles, CA 90025

 The Carroll Living Trust                                            Class A        0.31%
 Attn: Adam Carroll
 2416 Paseo Del Mar
 Palos Verdes Estates, CA 90274

 The Elliott Family Living Trust                                     Class A        1.26%
 Attn: David Elliott
 158 W. Blithedale Ave.
 Mill Valley, CA 94941

 The Eve Slaff GST Exempt Trust                                      Class A        0.31%
 Attn: Nora Slaff
 712 N. Whittier Dr.
 Beverly Hills, CA 90210

 The Garth Facinelli Trust dtd 2-13-96                               Class A        0.31%
 c/o Wasserman Grossman & Sloan LLP
 Attn: Diana Irena
 10990 Wilshire Blvd.
 Los Angeles, CA 90024

 The Hollander Living Trust dtd 3/3/95                               Class A        1.26%
 Attn: Steve Blatt
 11150 Santa Monica Blvd, Suite 600
 Los Angeles, CA 90025

 The Long Family Trust                                               Class A        0.63%
 469 E. Raintree Court
 Louisville, CO 80029


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 In re:    XS Ranch Fund VI, L.P.                                                               Case No.
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                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities   Kind of Interest
 business of holder

 The Paine Family Trust DTD 10/13/94                                 Class A        3.15%
 c/o Paine & Partners, LLC
 1 Franklin Pkwy., Bldg 910
 Ste. 120
 San Mateo, CA 94403

 The William and Claire Wolfenden Family                             Class A        0.63%
 Trust dtd 10/10/00
 20 Cottonwood Court
 Hillsborough, CA 94010

 The Wright Family Trust 10/12/00                                    Class A        1.10%
 Attn: Steve Blatt
 11150 Santa Monica Blvd, Suite 600
 Los Angeles, CA 90025

 Thomas F. Stephenson Family Trust                                   Class A        3.15%
 198 Fair Oaks Ln.
 Atherton, CA 94027

 Thomas J. Melody                                                    Class A        0.63%
 c/o Capital Markets Group Real Estate
 Jones Lang LaSalle
 400 Post Oak Blvd., Suite 1200
 Houston, TX 77056

 Wallace Family Trust UA DTD 7/28/99                                 Class A        1.57%
 Attn: John Wallace
 38 Baywood Canyon Rd.
 Fairfax, CA 94930

 Wildwood Trust #2 U/A/D 7/24/87                                     Class A        0.79%
 Attn: Michael Cohen
 1999 Avenue of the Stars, Suite 900
 Los Angeles, CA 90067

 WIN Investments, LP                                                 Class A        0.63%
 c/o Laguna Business Resources
 18430 Brookhurst, Suite 202
 Fountain Valley, CA 92708

 Winkler Children's Trust of 1998                                    Class A        0.31%
 Attn: Marvin Winkler
 32932 Pacific Coast Hwy. #14-487
 Dana Point, CA 92629

 Zander Lurie                                                        Class A        0.79%
 1785 Oak Avenue
 Menlo Park, CA 94025

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                                                                                     Debtor(s)



                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities                        Kind of Interest
 business of holder

DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Managing Member of Coast Range, LLC of the partnership named as the debtor in this case, declare under
penalty of perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best
of my information and belief.



 Date January 6, 2020                                                        Signature /s/ James P. Foster
                                                                                            James P. Foster

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




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                                                               United States Bankruptcy Court
                                                                     Western District of Texas
 In re      XS Ranch Fund VI, L.P.                                                                    Case No.
                                                                                 Debtor(s)            Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Managing Member of Coast Range, LLC of the partnership named as the debtor in this case, hereby verify that the attached list

of creditors is true and correct to the best of my knowledge.




 Date:       January 6, 2020                                          /s/ James P. Foster
                                                                      James P. Foster/Managing Member of Coast Range, LLC
                                                                      Signer/Title




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                        Aqua Water Service Company
                        PO Drawer P
                        Bastrop, TX 78602


                        Aventine Development Services
                        Attn: Chad Hagle
                        19360 Rinaldi St., Ste. 730
                        Porter Ranch, CA 91326


                        Bastrop County Tax Assessor/Collector
                        PO Box 579
                        Bastrop, TX 78602


                        Bastrop County Tax Assessor/Collector
                        c/o Lee Gordon
                        PO Box 1269
                        Round Rock, TX 78680


                        Bluebonnet Electric Cooperative
                        690 Texas Hwy 71 W, Bldg. 1
                        Bastrop, TX 78602


                        City of Bastrop
                        Attn: City Manager
                        904 Main St.
                        PO Box 427
                        Bastrop, TX 78602


                        Clayton Williams Ranch Co.
                        Attn: Jeff Williams
                        PO Box 1668
                        Fort Stockton, TX 79735-1668


                        Coast Range Investments, LLC
                        Attn: James Foster
                        818 Sayers Rd.
                        Bastrop, TX 78602


                        Coy Sunderman
                        139 Colovista Dr.
                        Bastrop, TX 78602
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                        Crestline Direct Finance, L.P.
                        c/o Crestline Investors, Inc.
                        Attn: James Cochran
                        201 Main St., Ste. 1900
                        Fort Worth, TX 76102


                        DF Capital Management
                        Attn: Rob Riva
                        14701 Phillips Hwy., Ste 300
                        Jacksonville, FL 32256


                        Federal Emergemecy Management Agency
                        FRC 800 North Loop 288
                        Denton, TX 76209


                        Force Ten Partners, LLC
                        Attn: Michael VenderLey
                        20342 SW Birch, Ste. 220
                        Newport Beach, CA 92660


                        FoxTrot LLC
                        c/o Tullius Law Group
                        515 S. Flower St., 18th Fl.
                        Los Angeles, CA 90071


                        Internal Revenue Service
                        Centralized Insolvency Operations
                        P.O. Box 7346
                        Philadelphia, PA 19101


                        Jackson Walker LLP
                        Attn: James Alsup
                        100 Congress Ave., Ste. 1100
                        Austin, TX 78701


                        John Landwehr
                        219 Main St.
                        Smithville, TX 78957


                        Kelly Thevenot
                        326 McDonald Rd.
                        Cedar Creek, TX 78612
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                        LIA Engineering, Inc.
                        7500 Rialto Rd., Bldg. 2
                        Ste. 100
                        Austin, TX 78755


                        Lower Colorado River Authority
                        Attn: Executive Manager, Water Services
                        PO Box 200
                        Austin, TX 78767


                        Melting Point Solutions
                        c/o Keller & Benvenutti
                        Attn: Tobias Keller
                        650 California Ave., #1900
                        San Francisco, CA 94108


                        Pine Associates, LLC
                        4455E. Camelback Rd., Ste. C-140
                        Phoenix, AZ 85018


                        PV Development Management
                        Attn: Mark Kehke & Jason Perrin
                        4343 Von Karman Ave., 3rd Fl.
                        Newport Beach, CA 92660


                        Ranch Wireless Internet
                        3547 N Hwy 123 Bypass
                        Seguin, TX 78155


                        Rimon P.C.
                        Attn: Ben Douglas
                        One Embercadero Ctr., Ste. 400
                        San Francisco, CA 94111


                        RMD & Co., Inc.
                        408 Baylor St.
                        Austin, TX 78703


                        Ron Freeman Esq.
                        Law Offices of Ronald J. Freeman
                        102 N. Railroad Ave.
                        Pflugerville, TX 78660
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                        Squar Milner
                        Attn: Katherine Gough
                        1150 Santa Monica Blvd., Ste. 600
                        Los Angeles, CA 90025


                        Steiner & Sons
                        c/o Waller Lansden Dortch & Davis, LLP
                        Attn: Eric Taube
                        100 Congress Ave., Ste. 1800
                        Austin, TX 78701


                        Texas Assocaites/AFCO
                        5600 N. River Rd., Ste, 400
                        Des Plaines, IL 60018


                        Texas Associates/AFCO
                        1120 Capital of Texas Hwy. S
                        Bldg 3
                        Austin, TX 78746


                        Texas Commission on Enviromental Quality
                        MC 172
                        PO Box 13087
                        Austin, TX 78753


                        Texas Comptroller of Public Accounts
                        Revenue Accounting Div- BK Section
                        P.O. Box 12548, MC-008
                        Austin, TX 78711


                        Texas Department of Transportation
                        Attn: Project Delivery Team
                        7901 N. IH 35
                        Austin, TX 78753


                        Texas Railroad Commission
                        Enforcement Division
                        Office of General Counsel
                        P.O. Box 12967
                        Austin, TX 78711


                        Tony Gonzalez
                        1344 Sayers Rd.
                        Bastrop, TX 78602
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                        US Department of the Army
                        Fort Worth District, Corps of Engineers
                        Attn: Chief Regulatory Branch
                        PO Box 17300
                        Fort Worth, TX 76102


                        Winthrop Couchot Golubow Hollander
                        Attn: Garrick Hollander
                        1301 Dove St., Ste. 500
                        Newport Beach, CA 92660


                        XS Ranch Municipal Utility District
                        c/o Ron Freeman
                        102 N. Railroad Ave.
                        Pflugerville, TX 78660
